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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

SACRAMENTO DIVISION
RALPH COLEMAN, et al., Case No. 2:90-CV-00520- KJM-DB
Plaintiffs, DECLARATION OF DAVID SAPP IN
SUPPORT OF PARTIES’ JOINT
Vv. STATEMENT RE RESPONSE TO
ORDER TO SHOW CAUSE RE
GAVIN NEWSOM, et al. APPOINTMENT OF RECEIVER
Defendants.
Judge: Hon. Kimberly J. Mueller

I, David Sapp, declare as follows:

1. I am the Legal Affairs Secretary for the Office of Governor Gavin Newsom. I have
held this position since April 2023, and before that, I served as Acting Legal Affairs Secretary
from December 2022 to April 2023. I have previously served as Chief Deputy Legal Affairs
Secretary and Deputy Legal Affairs Secretary. I have also held roles with the California State
Board of Education (as Deputy Policy Director and Assistant Legal Counsel) and the American
Civil Liberties Union Foundation of Southern California (as Director of Education Advocacy /
Legal Counsel, and as a staff attorney).

2. In my current role, I serve as principal legal advisor to the Governor and as a

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DECL. SAPP SUPP. JOINT RESPONSE TO OSC RE APPOINTMENT OF RECEIVER

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member of the Governor’s Senior Executive Team. I manage a team of approximately 23
attorneys, analysts, and support staff in the Office of Legal Affairs, including overseeing civil
litigation, internal legal advice, Tribal compact negotiations, parole and clemency, and other in-
house counsel responsibilities.

3. As the Legal Affairs Secretary, | have reviewed the Court’s Order to Show Cause
and have been directly involved in the preparation of the parties’ joint filing.

4, The Governor’s Office supports the appointment of J. Clark Kelso as the Receiver
over CDCR’s Mental Health Services Delivery System under the terms specified in the joint
filing. Through my work as the Legal Affairs Secretary, and Chief Deputy before that, | am
familiar with Mr. Kelso’s work as the Receiver in Plata. I know that Mr. Kelso brings a unique
skillset and experience to the Receiver position that cannot be matched by any other person: He is
deeply familiar with CDCR’s medical and custodial operations, understands the intricacies of state
government operations and the legislative process, and is well-respected by the parties and
stakeholders.

5. Given Mr. Kelso’s unique qualifications, the Governor’s Office believes that his
appointment as Receiver provides an important opportunity to move this case forward towards
resolution.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

Executed on this 2" day of August, 2024, at Sacramento, California.

Pui

David Sapp

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DECL. SAPP SUPP, JOINT RESPONSE TO OSC RE APPOINTMENT OF RECEIVER

